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                      UNITED STATES DISTRICT COURT
                            DISTRICT OF UTAH


 SHERRY TERESA, individually and on
 behalf of all others similarly situated,       FIRST AMENDED CLASS
                      Plaintiff,                ACTION COMPLAINT

        v.                                      JURY TRIAL DEMANDED

 MAYO FOUNDATION FOR MEDICAL
 EDUCATION AND RESEARCH,                        Case No. 4:24-cv-00033-AMA-PK

                      Defendant.                Judge Ann Marie McIff Allen
                                                Magistrate Judge Paul Kohler


      Plaintiff Sherry Teresa, individually and on behalf of all others similarly

situated, makes the following allegations pursuant to the investigation of her counsel

and based upon information and belief, except as to allegations specifically

pertaining to herself and her counsel, which are based on personal knowledge.

                                   INTRODUCTION

      1.       Defendant Mayo Foundation for Medical Education and Research
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(“Mayo”) rented, sold, and/or otherwise disclosed for compensation detailed

information about Plaintiff’s purchase of a subscription to Defendant’s Mayo Clinic

Health Letter magazine to data aggregators, data appenders, data cooperatives, list

brokers, political organizations, aggressive direct-mail advertisers, and non-profit

organizations. As a result, Plaintiff has received a barrage of unwanted junk mail.

By renting, selling, and/or otherwise disclosing for compensation Plaintiff’s Private

Purchase Information (defined below), without providing Plaintiff prior notice of

these disclosures, Mayo violated Utah’s Notice of Intent to Sell Nonpublic Personal

Information Act, Utah Code Ann. § 13-37 (the “NISNPIA”).

      2.      Documented evidence confirms these facts. For example, Mayo,

through list broker NextMark, Inc. (“NextMark”), offers to provide renters access to

the mailing list titled “MAYO CLINIC HEALTH LETTER Mailing List”, which

contains the Private Purchase Information of all 386,510 of Defendant’s recent U.S.

purchasers at a base price of “$110.00/M [per thousand],” (i.e., 11 cents apiece), as

shown in the screenshot below:




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                                     3
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See Exhibit A hereto.

      3.      By renting, selling, or otherwise disclosing for compensation the

Private Purchase Information of its customers to third parties, without providing its

customers prior notice of such practices, Mayo violated the NISNPIA. Subsection

2 of the NISNPIA provides:

             A commercial entity may not disclose nonpublic personal
             information that the commercial entity obtained on or after
             January 1, 2004, as a result of a consumer transaction if
             the commercial entity fails to comply with [the provisions
             requiring that prior notice of such disclosures be provided
             to the consumer, as set forth in] Section 13-37-201.

Utah Code Ann. § 13-37-202(1).

      4.      Accordingly, Plaintiff brings this First Amended Class Action

Complaint against Mayo for its intentional, systematic, and unlawful disclosures of

its customers’ Private Purchase Information in violation of the NISNPIA.

                            NATURE OF THE CASE

      5.      To supplement its revenues, Mayo rents and sells (for money),

exchanges (for other valuable consumer data), and otherwise discloses for

compensation its customers’ information—including their full names, home

addresses, and fact that they are purchasers of Defendant’s publications (collectively

“Private Purchase Information”), as well as other personal information such as

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gender—to data aggregators, data appenders, data cooperatives, list brokers,

political organizations, aggressive direct-mail advertisers, non-profit organizations,

and other third parties without the written consent of its customers.

        6.        Mayo’s disclosure of Private Purchase Information and other

individualized information is not only unlawful, but also dangerous because it allows

for the targeting of particularly vulnerable members of society.

        7.        While Mayo profits handsomely from the unauthorized rentals, sales,

and/or other compensation-driven disclosures of its customers’ Private Purchase

Information, it does so at the expense of its customers’ statutory privacy rights

(afforded by the NISNPIA) because Mayo does not provide any prior notice of such

disclosures to its customers (much less obtain their consent) before disclosing their

Private Purchase Information to third parties for compensation.

                                         PARTIES

   I.         Plaintiff Sherry Teresa

         8.       Plaintiff Sherry Teresa is a natural person and a citizen and resident of

Springdale, Utah.

         9.       On or after January 1, 2004, while a resident of and physically present

in Utah, Plaintiff purchased one or more subscriptions to Mayo Clinic Health Letter

from Defendant. Such subscriptions were subsequently sent by Defendant to

Plaintiff’s address in Utah.



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         10.   Prior to and at the time Plaintiff made her purchases, Mayo did not

notify Plaintiff that it rents, sells, exchanges, or otherwise discloses for

compensation its customers’ Private Purchase Information to third parties, and

Plaintiff has never authorized Mayo to do so.

         11.   After such purchases were made, and during the applicable statutory

period, Mayo disclosed, without providing Plaintiff the prior notice required by Utah

Code Ann. § 13-37-201, Plaintiff’s Private Purchase Information to data aggregators,

data appenders, and/or data cooperatives, who then supplemented that information

with data from their own files.

         12.   Moreover, during that same period, Mayo rented, sold, exchanged, or

otherwise disclosed for compensation lists containing Plaintiff’s Private Purchase

Information to third parties seeking to contact Mayo’s customers for their own

independent business purposes.

   II.     Defendant Mayo Foundation for Medical Education and Research

         13.   Defendant Mayo Foundation for Medical Education and Research is a

Minnesota corporation that maintains its headquarters and principal place of

business in Rochester, Minnesota.

         14.   Mayo has one or more office(s) or other place(s) of business in Utah,

including but not limited to at 15 West South Temple, Suite 600, Salt Lake City,

Utah (a location overseen by Mayo’s registered agent on Mayo’s behalf).


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Additionally, Mayo has employees who work for Mayo from Utah (and thus conduct

business on Mayo’s behalf at places in Utah).

         15.   Mayo does business throughout Utah and the entire United States and,

in the ordinary course of its business, enters into transactions with consumers in

Utah.

         16.   Mayo is the publisher of various medical books and other publications,

including but not limited to the Mayo Clinic Health Letter magazine.

                         JURISDICTION AND VENUE

        17.    This Court has subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

and costs, and at least one Class member is a citizen of a state different from

Defendant.

        18.    The Court has personal jurisdiction over Mayo because Plaintiff’s

claims arose in substantial part from actions and omissions in Utah, including from

Plaintiff’s purchases of subscriptions to Defendant’s Mayo Clinic Health Letter

magazine while Plaintiff resided in Utah, Mayo’s direction of such consumer

products into Utah, and Mayo’s failure to provide to Plaintiff, in Utah, the notice

required by Utah Code Ann. § 13-37-201 before disclosing her Private Purchase

Information, including her residential address in Utah, to other persons, the effects



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of which were felt from within Utah by a citizen and resident of Utah. Personal

jurisdiction also exists over Mayo in Utah because Mayo is registered to do business

in Utah, maintains one or more office(s) or other place(s) of business in Utah

(including a location overseen by its registered agent and places where its employees

conduct Mayo business), and conducts substantial business within Utah, such that

Mayo has significant, continuous, and pervasive contacts with Utah.

       19.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Plaintiff resides in this judicial District, Mayo does substantial business in this

judicial District, Mayo is subject to personal jurisdiction in this judicial District, and

a substantial part of the events giving rise to Plaintiff’s claims took place within this

judicial District.

                            FACTUAL BACKGROUND

       Utah’s Notice of Intent to Sell Nonpublic Personal Information Act

       20.     Pursuant to the NISNPIA, “[a] commercial entity may not disclose

nonpublic personal information that the commercial entity obtained on or after

January 1, 2004, as a result of a consumer transaction if the commercial entity fails

to comply with Section 13-37-201.” Utah Code Ann. § 13-37-202.

       21.      A “commercial entity” is a person that “has an office or other place

of business located in [Utah]” and “in the ordinary course of business transacts a

consumer transaction in [Utah].” Id. § 13-37-102(2)(a).



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      22.      “Consumer transaction” means, inter alia, “a sale, lease, assignment,

award by chance, or other written or oral transfer or disposition . . . of[] goods[,]

services[,] or other tangible or intangible property, . . . that is initiated or completed

in [Utah].” Id. § 13-37-102(4)(a)(i).

      23.      “Nonpublic personal information” means “information that . . . is not

public information” and, “either alone or in conjunction with public information,

identifies a person in distinction from other persons.” Id. § 13-37-102(5)(a).

“Nonpublic personal information” expressly includes, inter alia, “the purchasing

patterns of a person” or “the personal preferences of a person.” Id. § 13-37-

102(5)(b)(iii)-(iv).

      24.      A commercial entity “is considered to have obtained information as a

result of a consumer transaction if . . . the person provides the information to the

commercial entity . . . at any time during the consumer transaction . . . and at the

request of the commercial entity,” or if “the commercial entity otherwise obtains the

information . . . and but for the consumer transactions, the commercial entity would

not obtain the information.” Id. § 13-37-201(1)(b).

      25.      Section 13-37-201 of the NISNPIA requires a commercial entity to

provide the consumer with a notice, in the form set forth in that section, if

“the commercial entity enters into a consumer transaction with that person[,]” “as a

result of the consumer transaction . . . , the commercial entity obtains nonpublic



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 personal information concerning that person[,] and “the commercial entity intends

 to or wants the ability to disclose the nonpublic personal information . . . to a third

 party . . . for compensation,” where such compensation “is the primary consideration

 for the commercial entity disclosing the nonpublic personal information,” is

 “directly related to the commercial entity disclosing the nonpublic personal

 information,” and “is not compensation received by the commercial entity in

 consideration of a transaction [wherein a third party provides the commercial entity

 with: “(i) services, including business outsource services; (ii) personal or real

 property; or (iii) other thing of value”]).” Id. § 13-37-201(1)(a); § 13-37-201(5).

       26.     The notice required by section 13-37-201 of the NISNPIA “shall read

 substantially as follows: ‘We may choose to disclose nonpublic personal

 information about you, the consumer, to a third party for compensation.” ).” Id. §

 13-37-201(3)(a). The notice may be provided either “orally, if the consumer

 transaction itself is entirely conducted orally[,] or . . . in writing, if the notice is

 written in dark bold.” Id. § 13-37-201(3)(b). In either case, the notice “shall be

 sufficiently conspicuous so that a reasonable person would perceive the notice

 before providing the nonpublic personal information.” Id. § 13-37-201(3)(c). The

 notice “shall be given before the earlier of . . . the point at which the person is

 requested to provide the nonpublic personal information[] or . . . the commercial

 entity otherwise obtains the nonpublic personal information as a result of the



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 consumer transaction[.]” Id. § 13-37-201(2).

       27.     The NISNPIA entitles consumers who suffer violations of the statute

 to recover, inter alia, “$500 for each time the commercial entity fails to provide the

 notice required by this section in relation to the nonpublic personal information of

 the person who brings the action.” Id. § 13-37-203.

       28.     Despite the fact that Mayo has initiated or completed thousands of

 sales of its products to consumers in Utah, Mayo disregarded its legal responsibility

 to these individuals by systematically disclosing their Private Purchase Information

 to third parties for compensation, in clear violation of the NISNPIA.

                        The Private Information Market:
                  Consumers’ Private Information Has Real Value

       29.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

 Swindle remarked that “the digital revolution . . . has given an enormous capacity

 to the acts of collecting and transmitting and flowing of information, unlike anything

 we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

 defined by the existing data on themselves.”1

       30.     More than two decades later, Commissioner Swindle’s comments ring


 1
        Exhibit B, The Information Marketplace: Merging and Exchanging
 Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
 https://www.ftc.gov/sites/default/files/documents/public_events/information-
 marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
 Feb. 29, 2024).


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 truer than ever, as consumer data feeds an information marketplace that supports a

 $26 billion dollar per year online advertising industry in the United States.2

       31.     The FTC has also recognized that consumer data possesses inherent

 monetary value within the new information marketplace and publicly stated that:

              Most consumers cannot begin to comprehend the types
              and amount of information collected by businesses, or why
              their information may be commercially valuable. Data is
              currency. The larger the data set, the greater potential for
              analysis—and profit.3

       32.     In fact, an entire industry exists while companies known as data

 aggregators purchase, trade, and collect massive databases of information about

 consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

 information in an open and largely unregulated market.4

       33.     The scope of data aggregators’ knowledge about consumers is

 immense: “If you are an American adult, the odds are that [they] know[] things like


 2
         See Exhibit C, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
 http://online.wsj.com/article/SB10001424052748703529004576160764037920274
 .html (last visited Feb. 29, 2024).
 3
         Exhibit D, Statement of FTC Commissioner Pamela Jones Harbour (Dec.
 7, 2009), at 2, available at
 https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
 exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited Feb. 29,
 2024).
 4
      See Exhibit E, Martha C. White, Big Data Knows What You’re Doing Right
 Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
 knows-what-youre-doing-right-now/ (last visited Feb. 29, 2024).

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 your age, race, sex, weight, height, marital status, education level, politics, buying

 habits, household health worries, vacation dreams—and on and on.”5

       34.     Further, “[a]s use of the Internet has grown, the data broker industry

 has already evolved to take advantage of the increasingly specific pieces of

 information about consumers that are now available.”6

       35.     Recognizing the serious threat the data mining industry poses to

 consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

 Partisan Privacy Caucus sent a letter to nine major data brokerage companies

 seeking information on how those companies collect, store, and sell their massive

 collections of consumer data.7

       36.     In their letter, the co-Chairmen recognized that “[b]y combining data



 5
        Exhibit F, Natasha Singer, You for Sale: Mapping, and Sharing, the
 Consumer Genome, N.Y. Times (June 16, 2012), available at
 https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
 6S.pdf (last visited Feb. 29, 2024).
 6
        Exhibit G, Letter from Senator John D. Rockefeller IV, Chairman, Senate
 Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
 Executive     Officer,     Acxiom     (Oct.     9,   2012)     available    at
 http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
 4157-a97b-a658c3c3061c (last visited Feb. 29, 2024).
 7
        See Exhibit H, Bipartisan Group of Lawmakers Query Data Brokers About
 Practices Involving Consumers’ Personal Information, Website of Senator Ed
 Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
 releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
 involving-consumers-personal-information (last visited Feb. 29, 2024).


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 from numerous offline and online sources, data brokers have developed hidden

 dossiers on every U.S. consumer,” which “raises a number of serious privacy

 concerns.”8

       37.     Data aggregation is especially troublesome when consumer

 information is sold to direct-mail advertisers. In addition to causing waste and

 inconvenience, direct-mail advertisers often use consumer information to lure

 unsuspecting consumers into various scams,9 including fraudulent sweepstakes,

 charities, and buying clubs. Thus, when companies like Mayo share information

 with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

 to the “[v]ast databases” of consumer data that are often “sold to thieves by large

 publicly traded companies,” which “put[s] almost anyone within the reach of

 fraudulent telemarketers” and other criminals.10

       38.     Information disclosures like those made by Mayo are particularly

 dangerous to the elderly. “Older Americans are perfect telemarketing customers,



 8
       Id.
 9
        See Exhibit I, Prize Scams, Federal Trade Commission,
 http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited Feb. 29, 2024).
 10
        Exhibit J, Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
 N.Y. Times, May 20, 2007, available at
 http://www.nytimes.com/2007/05/20/business/20tele.html (last visited Feb. 29,
 2024).


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 analysts say, because they are often at home, rely on delivery services, and are lonely

 for the companionship that telephone callers provide.”11 The FTC notes that “[t]he

 elderly often are the deliberate targets of fraudulent telemarketers who take

 advantage of the fact that many older people have cash reserves or other assets to

 spend on seemingly attractive offers.”12 Indeed, an entire black market exists where

 the private information of vulnerable elderly Americans is exchanged.

       39.       Thus, information disclosures like Mayo’s are particularly

 troublesome because of their cascading nature: “Once marked as receptive to [a

 specific] type of spam, a consumer is of Mayo bombarded with similar fraudulent

 offers from a host of scam artists.”13

       40.       Mayo is not alone in jeopardizing its customers’ privacy and well-

 being in exchange for increased revenue: disclosing customer information to data

 aggregators, data appenders, data cooperatives, direct marketers, and other third

 parties for compensation is a widespread practice in consumer-products industries.

       41.       Thus, as consumer data has become an ever-more valuable


 11
       Id.
 12
        Exhibit K, Fraud Against Seniors: Hearing before the Senate Special
 Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
 at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
 statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
 visited Feb. 29, 2024).
 13
       See id.

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 commodity, the data mining industry has experienced rapid and massive growth.

 Unfortunately for consumers, this growth has come at the expense of their most

 basic privacy rights.

              Consumers Place Monetary Value on Their Privacy and
               Consider Privacy Practices When Making Purchases

       42.     As the data aggregation and cooperative industry has grown, so too

 have consumer concerns regarding the privacy of their information.

       43.     A recent survey conducted by Harris Interactive on behalf of

 TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

 with companies who they believe do not protect their privacy online.14 As a result,

 81 percent of smartphone users polled said that they avoid using smartphone apps

 that they don’t believe protect their privacy online.15

       44.     Thus, as consumer privacy concerns grow, consumers are increasingly

 incorporating privacy concerns and values into their purchasing decisions and

 companies viewed as having weaker privacy protections are forced to offer greater

 value elsewhere (through better quality and/or lower prices) than their privacy-

 protective competitors.


 14
      See Exhibit L, 2014 TRUSTe US Consumer Confidence Privacy Report,
 TRUSTe, available at x https://digitalcontentnext.org/blog/2014/07/16/truste-
 2014-us-consumer-confidence-privacy-report/ (last visited Feb. 29, 2024).
 15
       Id.


                                           16
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       45.      In fact, consumers’ private information has become such a valuable

 commodity that companies are beginning to offer individuals the opportunity to sell

 their information themselves.16

       46.      These companies’ business models capitalize on a fundamental tenet

 underlying the consumer information marketplace: consumers recognize the

 economic value of their private data. Research shows that consumers are willing to

 pay a premium to purchase services from companies that adhere to more stringent

 policies of protecting their data.17

       47.      Thus, in today’s economy, individuals and businesses alike place a

 real, quantifiable value on consumer data and corresponding privacy rights.18

      Mayo Unlawfully Rents and Otherwise Discloses for Compensation Its


 16
        See Exhibit M, Joshua Brustein, Start-Ups Seek to Help Users Put a Price
 on Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
 http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
 price-on-their-personal-data.html (last visited Feb. 29, 2024).
 17
         See Exhibit N, European Network and Information Security Agency, Study
 on monetising privacy (Feb. 27, 2012), available at
 https://www.enisa.europa.eu/activities/identity-and-
 trust/library/deliverables/monetising-privacy (last visited Feb. 29, 2024), citing
 Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on
 Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011).
 18
        See Exhibit O, Hann, et al., The Value of Online Information Privacy: An
 Empirical Investigation (Oct. 2003) at 2, available at https://econwpa.ub.uni-
 muenchen.de/econ-wp/io/papers/0304/0304001.pdf (last visited Feb. 29, 2024)
 (“The real policy issue is not whether consumers value online privacy. It is obvious
 that people value online privacy.”).

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                      Customers’ Private Purchase Information

       48.      Mayo maintains a vast digital database comprised of its customers’

 Private Purchase Information. Mayo discloses for compensation its customers’

 Private Purchase Information to data aggregators and appenders, who then

 supplement that information with additional personal information about each of its

 customers, including his or her gender. (See, e.g., Exhibit A).

       49.      Mayo then rents, exchanges, and/or otherwise discloses for

 compensation its customer lists—which include all of its customers’ Private

 Purchase     Information,   identifying   which   individuals     purchased   Mayo’s

 publications, and can include the other sensitive information obtained from data

 aggregators and appenders—to other data aggregators and appenders, direct-mail

 advertisers, consumer-facing businesses, non-profit organizations seeking to raise

 awareness and solicit donations, and political organizations soliciting donations,

 votes, and volunteer efforts. (See Exhibit A).

       50.      Mayo also discloses for compensation its customers’ Private Purchase

 Information to data cooperatives, who in turn give Mayo access to their own list

 databases.

       51.      In short, Mayo disclosed and continues to disclose its customers’

 Private Purchase Information to anybody willing to pay for it.

       52.      As a result of Mayo’s data compiling and sharing practices, companies



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 can purchase, rent, exchange for, or otherwise obtain mailing lists from Mayo that

 identify Mayo’s customers by their most intimate details, including their personal

 preferences and purchasing habits. Mayo’s disclosures of such sensitive and private

 information to any member of the public interested in purchasing it is invasive of its

 customers’ privacy and intrusive upon their private affairs and concerns (in a way

 that the average person would find highly offensive). Mayo’s disclosures also put

 its customers at risk of serious harm from scammers.

       53.     Mayo failed to provide prior notice of these disclosures to its

 customers as required by Utah Code Ann. 13-37-201, much less obtain their consent

 prior to making such disclosures. As a result, Mayo’s customers in Utah (and

 elsewhere throughout the country) remain unaware that their Private Purchase

 Information and other sensitive information is being rented, sold, and otherwise

 disclosed for compensation on the open market.

       54.     Consumers purchase Mayo’s products through numerous media

 outlets, including the Internet, telephone, or traditional mail. Regardless of how the

 consumer makes a purchase, during the applicable statutory period Mayo uniformly

 failed to provide the notice required by Utah Code Ann. 13-37-201 to – much less

 obtain any form of consent from – its Utah-based customers before they made

 purchases from Mayo or before Mayo disclosed their Private Purchase Information

 to third parties for compensation.



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       55.     By and through these actions, Mayo has disclosed to third parties its

 Utah-based customers’ Private Purchase Information for compensation without

 providing the requisite prior notice of such disclosures, in direct violation of the

 NISNPIA.

                        CLASS ACTION ALLEGATIONS

       56.    Plaintiff seeks to represent a class defined as all persons in Utah who

 had their Private Purchase Information obtained by Mayo on or after January 1, 2004

 as a result of a consumer transaction and who, at any point during the applicable

 statutory period, had such Private Purchase Information disclosed by Mayo to one

 or more third party (the “Class”). Excluded from the Class is any entity in which

 Mayo has a controlling interest, and officers or directors of Mayo.

       57.    Members of the Class are so numerous that their individual joinder

 herein is impracticable. On information and belief, members of the Class number in

 the thousands. The precise number of Class members and their identities are

 unknown to Plaintiff at this time but may be determined through discovery. Class

 members may be notified of the pendency of this action by mail and/or publication

 through the distribution records of Mayo.

       58.    Common questions of law and fact exist as to all Class members and

 predominate over questions affecting only individual Class members. Common

 legal and factual questions include, but are not limited to: (a) whether Mayo is a



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 “commercial entity” within the meaning of the NISNPIA; (b) whether Mayo

 provided the notice required by the NISNPIA to Plaintiff and Class members before

 they entered into consumer transactions with Mayo; (c) whether Mayo obtained

 Plaintiff’s and Class members’ Private Purchase Information as a result of consumer

 transactions, and whether such information constitutes “nonpublic personal

 information” within the meaning of the NISNPIA; (d) whether Mayo disclosed

 Plaintiff’s and Class members’ Private Purchase Information to a third party; and (e)

 whether Mayo’s disclosures of Plaintiff’s and the Class’s Private Purchase

 Information to third parties violated the NISNPIA.

       59.    The claim of the named Plaintiff is typical of the claims of the Class in

 that the named Plaintiff and the members of the Class all suffered invasions of their

 statutorily protected right to privacy (as afforded by the NISNPIA), as well as

 intrusions upon their private affairs and concerns that would be highly offensive to

 a reasonable person, as a result of Mayo’s uniform wrongful conduct in intentionally

 disclosing their Private Purchase Information to third parties for compensation.

       60.    Plaintiff is an adequate representative of the Class because her interests

 do not conflict with the interests of the Class members she seeks to represent, she

 has retained competent counsel experienced in prosecuting class actions, and she

 intends to prosecute this action vigorously. The interests of Class members will be

 fairly and adequately protected by Plaintiff and her counsel.



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        61.    The class mechanism is superior to other available means for the fair

 and efficient adjudication of the claims of Class members. Each individual Class

 member may lack the resources to undergo the burden and expense of individual

 prosecution of the complex and extensive litigation necessary to establish Mayo’s

 liability. Individualized litigation increases the delay and expense to all parties and

 multiplies the burden on the judicial system presented by the complex legal and

 factual issues of this case. Individualized litigation also presents a potential for

 inconsistent or contradictory judgments. In contrast, the class action device presents

 far fewer management difficulties and provides the benefits of single adjudication,

 economy of scale, and comprehensive supervision by a single court on the issue of

 Mayo’s liability. Class treatment of the liability issues will ensure that all claims

 and claimants are before this Court for consistent adjudication of the liability issues.

                                CAUSE OF ACTION
                      Violation of Utah’s Notice of Intent to Sell
                        Nonpublic Personal Information Act
                              (Utah Code Ann. § 13-37)

        62.    Plaintiff repeats the allegations contained in the foregoing paragraphs

 as if fully set forth herein.

        63.    Plaintiff brings this claim individually and on behalf of members of the

 Class against Mayo.

        64.    Mayo has one or more office(s) or other place(s) of business in Utah,

 including but not limited to at 15 West South Temple, Suite 600, Salt Lake City,


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 Utah (a location overseen by Mayo’s registered agent on Mayo’s behalf).

 Additionally, Mayo has employees who work for Mayo from Utah (and thus conduct

 business on Mayo’s behalf at places in Utah). And in the ordinary course of its

 business, Mayo enters into transactions with consumers in Utah. Accordingly, Mayo

 is a “commercial entity” within the meaning of the NISNPIA. See Utah Code Ann.

 § 13-37-102(2)(a).

       65.     Mayo’s sales of tangible and/or intangible property to Plaintiff,

 including subscriptions to its Mayo Clinic Health Letter magazine, were initiated or

 completed in Utah, where Plaintiff resided at the time she purchased her

 subscriptions and where she received her subscriptions in the mail. Accordingly,

 Mayo entered into one or more “consumer transaction” with Plaintiff within the

 meaning of the NISNPIA. See id. § 13-37-102(4)(a)(i).

       66.     As a result of such consumer transactions, Mayo obtained information

 pertaining to Plaintiff that Plaintiff provided at Mayo’s request, and which Mayo

 would not otherwise have obtained but for entering into such consumer transactions

 with Plaintiff. See id. § 13-37-201(1)(b). This information, referred to herein as

 Plaintiff’s Private Purchase Information, included Plaintiff’s “purchasing habits”

 and “personal preferences” within the meaning of the NISNPIA.

       67.   At various times during the applicable statutory period, Mayo disclosed

 Plaintiff’s Private Purchase Information, which identified her as a purchaser of



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 Mayo’s Mayo Clinic Health Letter magazine, in at least three ways.

       68.    First, Mayo disclosed customer lists containing Plaintiff’s Private

 Purchase Information to data aggregators and data appenders, who then

 supplemented the lists with additional sensitive information from their own

 databases, before sending the lists back to Mayo.

       69.    Second, Mayo disclosed mailing lists containing Plaintiff’s Private

 Purchase Information to data cooperatives, who in turn gave Mayo access to their

 own consumer list databases.

       70.    Third, Mayo rented, sold, exchanged, and/or otherwise disclosed its

 customer lists containing Plaintiff’s Private Purchase Information—enhanced with

 additional information from data aggregators and appenders—to third parties,

 including other consumer-facing companies, direct-mail advertisers, and

 organizations soliciting monetary contributions, volunteer work, and votes.

       71.    Because many of Mayo’s customer lists included the additional

 information from the data aggregators and appenders, the lists were more valuable

 and Mayo was able to increase its profits gained from the list rentals and/or

 exchanges.

       72.    Mayo made each disclosure of Plaintiff’s Private Purchase Information,

 to each of the entities described in the preceding paragraphs, for compensation –

 namely, money. Indeed, Mayo’s disclosures of Plaintiff’s Private Purchase



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 Information were made to data aggregators, data appenders, data cooperatives,

 direct-mail advertisers, and organizations soliciting monetary contributions,

 volunteer work, and votes—all in order to increase Mayo’s revenue.

       73.    The information Mayo disclosed indicates Plaintiff’s name and address,

 as well as the fact that she purchased one or more subscription to Mayo Clinic Health

 Letter, which was information not otherwise in the public domain. See id. § 13-37-

 102(5). Because the records or information disclosed by Mayo reveal Plaintiff’s

 “purchasing patterns” and “personal preferences,” and “identif[y] [Plaintiff] in

 distinction from other persons,” the records or information Mayo disclosed to third

 parties constitute “nonpublic personal information” within the meaning of the

 NISNPIA. See id. § 13-37-102(5).

       74.    Neither Plaintiff nor any member of the Class consented to Mayo

 disclosing their Private Purchase Information to anyone.

       75.    Worse yet, at no time before entering into consumer transactions with

 Mayo or providing Mayo with their Private Purchase Information did Plaintiff or

 any members of the Class receive the notice required by Utah Code Ann. § 13-37-

 201. Specifically, prior to entering into consumer transactions with Plaintiff and

 Class members and obtaining Plaintiff’s and Class members’ Private Purchase

 Information, Mayo failed to provide Plaintiff or any members of the Class with a

 clear and conspicuous notice in dark bold writing (or orally), such that a reasonable



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 person would perceive the notice, stating that “[w]e may choose to disclose

 nonpublic personal information about you, the consumer, to a third party for

 compensation.” Id. § 13-37-201(3)(a).

       76.    Plaintiff and the members of the Class never otherwise consented to

 Mayo disclosing their Private Purchase Information to anyone.

       77.    Mayo’s undisclosed, nonconsensual disclosures of all of its customers’

 Private Purchase Information intruded substantially upon the solitude and seclusion

 (including the personal affairs and concerns) of Plaintiff and each of the Class

 members, in a way that was highly offensive to Plaintiff and would be highly

 offensive to a reasonable person, including the members of the Class.

       78.    Mayo’s disclosures of Plaintiff’s and the Class’s Private Purchase

 Information were not made to third parties in “relat[ion] to the third part[ies]

 providing to [Mayo] . . . services, including business outsource services[,] personal

 or real property[,] or other thing[s] of value,” and the “compensation received by

 [Mayo] as part of the transaction[s] [with third parties] [was not] received by [Mayo]

 for or in consideration of such “third part[ies] providing to [Mayo] [such] services,

 . . . personal or real property[,] or other thing[s] of value.” Id. § 13-37-201(5).

       79.    Mayo is not “subject to a federal law or regulation that governs the

 disclosure of nonpublic information to a third party,” nor is Mayo “a covered entity

 as defined in 45 C.F.R. Parts 160 and 164.” See Utah Code Ann. § 13-37-201(4).



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       80.       By disclosing Plaintiff’s and the Class’s Private Purchase Information

 to third parties for compensation, without providing prior notice to Plaintiff or Class

 members as required by Utah Code Ann. § 13-37-201, Mayo violated Plaintiff’s and

 the Class’s statutorily protected right to privacy in their nonpublic personal

 information pertaining to their consumer transactions, as afforded by the NISNPIA.

 See id. § 13-37-202(1) (“A commercial entity may not disclose nonpublic personal

 information that the commercial entity obtained on or after January 1, 2004, as a

 result of a consumer transaction if the commercial entity fails to comply with Section

 13-37-201.”).

       81.    On behalf of herself and the Class, Plaintiff seeks: (1) $500.00 to

 Plaintiff and each Class member, for each time Defendant failed to provide them the

 notice required by the NISNPIA in relation to their Private Purchase Information,

 pursuant to Utah Code Ann. § 13-37-203(2)(a); and (2) costs pursuant to Utah Code

 Ann. § 13-37-203(2)(b).

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly

 situated, seeks a judgment against Defendant as follows:

                 A.    For an order certifying the Class under Rule 23 of the
                       Federal Rules of Civil Procedure and naming Plaintiff as a
                       representative of the Class and Plaintiff’s attorneys as Class
                       Counsel to represent the Class;

                 B.    For an order declaring that Defendant’s conduct as


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                     described herein violated Utah’s Notice of Intent to Sell
                     Non-Public Information Act;

              C.     For an order finding in favor of Plaintiff and the Class on
                     all counts asserted herein;

              D.     For an award of $500.00 to Plaintiff and each Class
                     member, for each time Defendant failed to provide them
                     the notice required by the NISNPIA in relation to their
                     Private Purchase Information, as provided by the
                     NISNPIA, Utah Code Ann. § 13-37-203(2)(a);

              E.     For prejudgment interest on all amounts awarded; and

              F.     For an order awarding Plaintiff and the Class their
                     reasonable attorneys’ fees and expenses and costs of suit
                     pursuant to Rule 23 and Utah Code Ann. § 13-37-
                     203(2)(b).

                                  JURY DEMAND

       Plaintiff demands a trial by jury on all causes of action and issues so triable.


 Dated: July 15, 2024                   Respectfully submitted,

                                        PETERS ❘ SCOFIELD
                                        A Professional Corporation

                                        /s/ David W. Scofield
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